     Case 8:24-cv-01362-DOC-KES                              Document 1-1                Filed 06/19/24                   Page 1 of 3 Page ID
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                                      UNITED STATES DISTRICT COURT,CENTRAL DISTRICT pF ULIFORNiq
                                                           CML COVER SHEET

 ~• La) PLAIN77FFS (Check box if you are representing yourself ~)               IDEFENDAN7'S            (Check box if you are representing yourself Q
         Pawnell Johnson Rhonda Joi                                                       Grainge,Lucian Sir et. al


(b) County of Residence of First Listed Plaintiff                                         of Residence of First Listed Defendant                  Los Angeles
(EXCEPTIN U.S. PLA/NT1FF CgSES)                                                  QN U.S. PLAINTIFF CASES ONL1~

(C) Attorneys(Firm Name,Address onATelephone Numbed If you are                   Attorneys(FJrm Name,Addreu and Telephone Number) if you are
 representing yourself, provide the same information.                            representing yourself, provide the same information.

         R honda Johnson Pawnell
         5355 Stonehaven Dr #2Q6

 11. BASIS OF JURISDIC710N (Place an X in one box only.)                  III. Cf71ZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                               (Place an X in one box for plaintiff and one for defendant)
                                                                                                                               ed or Principal Place   ~4 ~q
     1. US.Government                 3. Federal Question(US.              Citizen of This State    ❑(1 ~. ~ Incorporat
                                                                                                                    of Business in this State
     Plaintiff                        Government Not a Party)                                                                                    Place ❑ S ~ 5
                                                                           Citizen of Another State ~ z ~ Z Incorporated and Principal
                                                                                                                    of Business in Another State
     2. US.Government                 4.Diversity (Indicate Citizenship    Cit¢en or Subject of a                   Foreign Nation                     (] 6 ~ 6
                                                                           Foreign Country          ❑ 3 ❑ 3
     Defendant                        of Parties in Item III)

 IV.ORIGIN (Place an X in one box only.)                                                                                       6. Multidistrict       8. MulUdistrict
 ❑ 1.Original   ❑ 2. Removed from          ❑ 3. Remanded from may,4. Reinstated or ❑ 5. Transferted from Another ❑                Litigation -    ~      Litigation
                                                                                         District (Specify)                       Transfer               Direct file
     Proceeding     State Court                Appellate Court L^` Reopened


                                                          "Yes" only if demanded in complaint.)
 V.REQUESTED IN COMPLAINT: JURY DEMAND: ~ Yes ~ No (Check
                                                                                              1,000,000.00
 CLASS AC110N under F.R.Cv.P. 23: ~ Yes [~ No    ~ MONEY DEMANDED IN COMPLAINT: $
                                                                                                                                                                  diversity.)
                                                                                                 statement of cause. Do not cite jurisdictional statutes unless
 VI. CAUSE OF ACTION (Cite the U.S. civil Statute under which you are filing and write a brief


 VII. NATURE OF SUfT(Place an X in one box only).
                                                                                                          PRISONER PEffl'IONS              PROPENTY RIGHTS
                                    COKiRACT         REAL PROPERTY CONT.           IMMIGRATION
     OTHER STANTES
                                                                                 4b2 Naturalization           Habeas Corpus:          ~ gZ0 Copyrights
                              ❑ 110 Insurance        ~ 240 Torts to Land
  375 False Claims Ad                                                            Application             ~ 463 Alien Oelainee
                                                       245 Tort Produc[       ~                                                       ❑ 830 Patent
  376 Qui Tam                   120 Marine          ❑ Liability                                             S10MotionstoVacate
                                                                                 4650ther                   Sentence                  ~ 835 Patent -Abbreviated
 (31 USC3729(a))              ~
                                                    ~ 290 All Other Real      ~ Immigration Actions ~ 530 General                        New Drug Application
                                130 Miller Act                                                           ❑
  400 State                                            Property                        TORTS
  R eapportionment               140 Negotiable                                                          ❑  535   Death Penalty          g4p Tredemark
                              ❑ Instrument                  TORTS              PERSONAL PROPERTY
  410   Antitrust                                                                                                 Othcr.                 880 Defend Trede Secrets Act
                                                      PERSONAL INJURY         ~ 370 Other Fraud
                                 ~ 50 Recovery of                                                        ~   540  Mandamuz   /Other   ~  of 2016(DTSA)
❑ 430 Banks
              and Banking ~ Overpayment &           ~ 370 Airplane
                                 Enforcem  ent of                             ❑ 371 Truth in Lending                                         SOCIAL SECURfTY
  450 Commerce/ICC                                     315 Airplane                                      ❑ 550 Cnril Rights
   Rates/Etc.                    J udgment          ❑ product Liabilih'           3800therPersonal                                            HIA (1395ffl
                                                                                                    e                                 ❑861
  460 Deportation                151 Medicare Act      320 Assauh, Libel & ~ ProPAY Dama9                ~ S55 Prtson Condition
                                                                                                                                       ~  862 Black Lung(923)
                                                    ~ Slander                     385 Property Damage         560 Civil Detainee
   470 Racketeer Influ-                        of
                                 152  Recovery         330 Fed. Em   to  ers' ~ Product    Liability     ~ Conditions of               ~ 863 DIWUDIYVW (405 (g))
   e nced &Corrupt Org.                                             P y
                                 Defaulted Student ❑ Liability                     BANKRUPTCY                 Confinem   ent
  480 Consumer Credit ~ Lyn (Excl. Vet.)                                                                                                  864 SSID Title XVI
                                                    ~ 340 Marine                                           Fp{tFEITURE/PENALTY ❑
  485 Telephone                                                                   422 Appeal 28
                                 153 Recovery of       345 Marine Product ❑ USC 158                           625 Drug Related         ❑ 865 RSI(405 (g))
   Consumer Protection AR
                                 Overpayment of ~ Liability                                               ❑Seizur    e of Property 21
  490 CabldSat N              ❑                                                   423 Withdrawal 28                                          FEDERALTAX SUfTS
                                 Vet. Benefits                                                                 UK 881
                                                    ~ 350 Motor Vehicle        ❑ USC 157
   850  Securities /Corn-                                                                                      690  Other                  870 Taues(US.Plaintiff or
                                 160 Stockholders'                                  ~y~L p~GHTS
   modities/Exchange              Suits             ~ 355 Motor Vehicle                                              ~B~R              ~ Defendant)
   890 Other Statutory                                  Product Liability               aher Civil Rights                                  871 IRS-Third Party 26 USC
❑ Actions                         X90 Other             360 Other Personal ~ ~                                 710 Fair labor Standards ❑ ~~y
                              ❑                     ❑ ~~~~ry                   ~   441  Voting            ❑    A~
                                  Contract
   gg1 AgriculturalAds                                  362 Personal Injury- ~ µ2 ~~oymeM
                                 195 ContraR                                                                   720 Labor/Mgmt.
                                                                                                           ❑ Relations
   B93 EnvlronrtxnUl             Product Liability  ~ Med Malpratice               443 Housing/
   M atters                                             365 Personal Injury- ~ A~~ommodations
                              ~ 196 Franchise       ❑ Product Liability                                    ~ 740 Railway Labor Act
        frcedom of Info.
                                                                                   ~5   ~rican     with        75 ~ Family and Medical
  Ag~tS                         REAL PROPERTY           367 HeaRh Care)
                                                        Pfiarmaceu tical        ❑ ~~~a~~ t                      Leave Ad
  896   Arbitrati on          ~ 210 Land            ~                              E mploymen
]                                                       Personal  Injury                                        ~y~ ether Labor
                          es      Condemna   tion                                  qqb American     with
  899 Admin. Procedur                                   Produ ct Liability                                 ❑ Liti9ation
                           of ~ ZZO foreclosure                                     Disabilities-Other
  AcVReview of Appeal                                   36B Asbestos                                       ❑ 791 Employee Ret.lnc
  A gency Decision               230   Rent Lease b  ❑   Personal Injury        ~   q48 Education                S~~h,A~
                   onality of
  950 Constituti                  E'ectmen  t                                                                ~                      A n~
  SUte Statutes               ~

                                                                          V~         ~ ~"  '
                                                                                         "'" ~ ~~~~                                  ~v~
                                         Case Number. ~~ p~ `t"
 fOR OffICE USE ONLY:
 Case 8:24-cv-01362-DOC-KES                                         Document 1-1                    Filed 06/19/24                       Page 2 of 3 Page ID
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                                            UNITED STATES DISTRICT COURT,CENTML DISTRICT OF CALIFORNIA
                                                                 CIVIL COVER SHEET

  VIII. VENUE: Your answers to the questions below will determine the division o(the Court to which this case will
                                                                                                                     be Inillally assigned. This initial ass~g~~nt is subJeC<
 to change, In accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of
                                                                                                                   Removal.
                                                                                                    ___--- -
 QUESTION A: W~f tAlt C!s!f'Mloved
 h,pm m~~~7                                                  SPATE U5E WAS PENDING IN THE CW NT1'OF;                                   INfTIAL DMSION IN UCD(5:
                    Yes (~ No                                 -  ---   --                        —----
                                                   los Angeles, Ventura,Santa Barbara, or San Luls Obispo                                         Western
 N'no,'skip fo Question 8. If'yes,'check the
                                                                                ---- — - _—___
 box to the Mght that appNes,enter the        (~ ~^9e                                                                                            Southern
 co►►esponding division in response to
 Question E, below, and continue from there. ❑ Riverside a San Bernardino                                                                          Eastern


 QUESTION B: Is tM Unit~d Sht~s,or d.1. Do 5096 a more ofthe defendants who reside In
 one of its agencies or employees,a                                                                           yES. Your case will initlall be assi ned to the Southern Division•
                                    ~~~ wide in Orange Co?                                                  ~ Enter'Southern' in response to Question E, below,and continue
 PLAINTIFF in this action?
                                                                                                                 from there.
                                                 chcdc one o~rhe boxes ro the righ~   '♦
                    Yes ~ No
                                                                                                                 N0. Continue to Question 8.2.

                                                 8.2. po 5096 a more of the defendants who reside in
 I('no,' skip to Questron C If es,' answer                                                                    YES. Your case will initially be assigned to the Eastern Division.
                              y                  the district reside in Riverside and/or San Bernardino     ~ Enter'Fastem' In response to Question E, below, and continue
 Question B.1, at right.
                                                 Countlal (Consider the two counties together.)
                                                                                                              from there.
                                                 check oneo(the boxes ro theright     ♦                          N0. Your case will initially be assigned to the Western Division.
                                                                                                                 Enter'Western" in response to Question E, below, and continue
                                                                                                                 from there.

 QUESTION C: Is the United States, or Cl. Do 5096 or more of the plaintiffs who reside In
                                                                                          the                  yES. Your case will initially be assigned to the Southern Division.
 one of its agenaes or employees, a              district reside in Orange co?
                                                                                                            ~( Enter'Southern' in response to Question E, below, and continue
 DEFENDANT in this adion7
                                                                                                               from there.
                                                 check one olthe boxes to the right   '~'~
                    Yes ~ No
                                                                                                                 N0. Continue to Question C.2.

                                                 C2. Do 5096 or more olthe plaintiffs who reside in the
I('no,' skip to Question D. ff 'yes; answer                                                               yES. Your case will initially be assigned to the Eastern Division.
                                                 district reside in Riverside and/or San Bernardino
Question C.1, at right.                                                                                 ❑ Enter'Eastem' in response to Question E, below,and continue
                                                 Counties? (Consider the two counties together.)
                                                                                                          from there.
                                                check one olthe boxes to the right    ♦                        N0. Your case will initially be assigned to the Western Division.
                                                                                                            [g Enter'Western" in response to Question E, below,and continue
                                                                                                               from there.


QUESTION D: Location of plaintiffs and defendants?                                                                               Riverside or San           Los Angeles, Ventura,
                                                                                                   Orange County                Bernardino County           Santa Barbara, or San
                                                                                                                                                             Luis Obispo County
Indicate the locations) in which 5096 or more of plaintiNs who reside in this district
reside. (Check up to two boxes,or leave blank if none of these choices apply.)
Indicate the locations)in which 5096 or more of de%ndants who reslCe In this
district reside. (Check up to two boxes,or leave blank if none of these choices
apply.)

               D.1. Is there at least one answer in Column Al                                               D.2. Is there at least one answer in Column Bl
                                      Yes       ~ No                                                                           ~ Yes        ~ No
                   N "yes," your case will initially be assigned to the                                        If "yes," your case will initially be assigned to the
                               SOUTHERN DIVISION.                                                                              EASTERN DIVISION.
     Enter'Southem'in response to Question E, below,and continue from chafe.                                   Enter'Eastem'in response to Question E, below.
                        If'no,'go to question D2 to the right.       ♦                                    If'no,'your case will be assigned to the WESTERN DIVISION.
                                                                                                              Enter'Westem" In response to Question E, below.                 j


QUESTION E:Initial DlvislonT                                                                                             INf11AL DIVISION IN CACD

Enter the initial division determined by Question A,B, C,or0above: ~                               Central
QUESTION F:NortMrn CounWsT
Do 5096 or more of plaintiffs or defendants in this district reside In Venture, Santa Barbara,or San Luis Obispo countial                             ~ Yes            ~ No
                                                                                 IMM /N~~M l~Mn
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                                            UNITED STATES DISTRIR COURT,CENTRAL DISTRIR OF CALIFORNIA
                                                                 CIVIL COVER SHEET

  IX(a~. IDENTICAL CASES: Nas thls action been previously filed In this eourt7                                                                 ~ N~                 ~ YES

          It yes, Ilst case numberls)      8:23'CV-0~ 255-~~Ci-KES


 IX(b). RELATED CASES: Is this case related (as deFlned below) to any civil or criminal cases) previously filed In ehls court?
                                                                                                                                              [~ NO                 ~ YES
          If yes, Ust case number(sl:
                                              g~24-ev 00551 DOC KES
                               If yes, you must file a NotfcQ of Ralat~d Casas. See Local Rula 83-1.3.

          Civll cases are related when they (check all that apply):

              [~ A. Arise from the same or a closely related transaction, happening,or event;
              [~ B. Call for determination of the same or substantially related or similar questions of law and fad; or
                     C. For other reasons would entail substantial duplication of labor if heard by different judges.

         Note: That cases may involve the same patent,trademark, or copyright is not, in itrelf, su~cient to deem cases related.


         A civil forfeiture case and a criminal case are related when they(check all that apply):

                     A. Arise from the same or a closely related transaction, happening,or event;

                     B. Call for determination of the same or substantially related or similar questions of law and fact; or

                     C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
                     labor if heard by different judges.

X.STATEWIDE OR NATIONWIDE RELIEF: Does this case seek to bar or mandate enforcement of a state or federal law and seek declaratory
    or injunctive relief on a statewide or nationwide basis?
                                                                                                           ~ Np            ~ YES
                               If yes,see Local Rule 83-t 1 for additional requirements.



XI. SIGNATURE OF ATTORNEY
                                                        Rhonda Johnson Pawnell                                                      DATE:            06-20-2024
(ORSELF-REPRESENTED LITIGANT):

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required bylaw, except as provided by local rules of court. For
more detailed instructions,see separate instruction sheet(N-071A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       AbbrQviation                    Substantive Statement of Cause of Adios
                                                   All claims for health insurance benefits(Medicare) underTtle 78, Part A, of the Social Security Acc, as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
                                                  (42 US.C. 1935FF(b))

        862                       BL               All claims for'Black Lung'benefits under Title 4, Part B, o(the Federal Coal Mine Health and Safety Act of 1969.(30 U.S.C.
                                                   923J

                                                   All claims filed by insured workers for disability insurance benefrts under Title 2 of the Social Security Act, as amended; plus
        863                       DIWC
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.0 405(g))

                                                   All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
        863                       DIWW
                                                   amended.(42 US.C.405 (g))

                                                   All claims(or supplemental security income payments based upon disability fled underTitle 16 of the Social Security Act, as
        B64                      SSID
                                                   a mended.


        B6;                      RSI               All claims(or retirement(old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                  (42 U.S.C.405 (g))
